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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

WILLIAM ICAL TUIL                                                              PLAINTIFF
#221976

v.                           No: 4:20-cv-00190 BRW-PSH

JOHN DOES                                                                  DEFENDANTS

                                       JUDGMENT

     Based on the order filed today, judgment is entered dismissing this case without prejudice.

     IT IS SO ORDERED, this 6th day of May, 2020.

                                          Billy Roy Wilson_________________
                                          UNITED STATES DISTRICT JUDGE
